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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                    CAMEN VICINAGE

   UNITED STATES OF AMERICA                            Criminal No.: 14-050 (NLH)

                 v.

   KIMBERLY SPELLMAN, et al.                           Consent Order Modifying Pretrial
   a/k/a "Candi Jones," a/k/a "Kim Jones"              Release Order

          THIS MATTER having been opened to the Court by the Defendant, Kimberly

   Spellman, by and through her attorney, Michael N. Huff, Esquire, on notice to and with the

   consent of the United States Attorney, Paul J. Fishman, Esquire (Assistant United States

   Attorney Justin C. Danilewitz, Esquire appearing) and United States Pretrial Services (Pretrial

   Services Officer Adrienne K. Smith appearing), the Court having considered all arguments

   submitted, the consent of the parties, and for good cause shown;
     Case 1:14-cr-00050-CPO         Document 595         Filed 02/04/15       Page 2 of 2 PageID: 17014
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                                                    _ _y,_.;_~------'' 2015, ORDERD
               IT IS on this _ _.__ _ _ day of---'/--1Vb

        that the Defendant Kimberly Spellman may travel to the Superior Court of New Jersey, Atlantic

        County for the purpose of making custody arrangements for the defendant's minor

        daughter. The defendant may leave her residence, while on home incarceration, for this purpose

        at the discretion of Pretrial Services. The defendant must also provide verification from Atlantic

        County Superior Court to Pretrial Services.

                                                             BY THE COURT:




                                                             HONORABLE NOELL. HILLMAN

               I hereby consent to the content and form of the above Order.



                Isl Justin Danilewitz
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